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                                                                          2019 Apr-02 AM 11:15
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                            JASPER DIVISION
 DELILAH BRAND,                         )
                                        )
         Plaintiff,
                                        )
   v.                                   )             6:19-cv-00054-LSC
                                        )
 JOE CHURCH, et al.,
                                        )
         Defendants.                    )


                           MEMORANDUM OF OPINION

        Before the Court is Defendants’ Joe Church (“Church”) and Walker

Rehabilitation Center’s (“Walker Rehabilitation”) Motion to Dismiss or in the

Alternative Recharacterize Plaintiff’s Complaint. (Doc. 3.) Plaintiff Delilah

Brand (“Brand”) originally filed this suit in state court alleging claims for

breach of contract, breach of fiduciary duty, bad faith, negligent

misrepresentation, false representation, intentional infliction of emotional

distress, fraud in the inducement, failure to warn, deceit, and conversion.

Defendants Church and Walker Rehabilitation removed the suit to this Court,

arguing that Brand’s claims are completely preempted by the Employee

Retirement Income Security Act, 29 U.S.C. §§ 1001–1461, (“ERISA”). In

response, Brand filed an Objection to Defendants’ Notice of Removal (doc.

4), which this Court construes as a motion to remand. For the reasons stated


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below, Church and Walker Rehabilitation’s Motion to Dismiss (doc. 3) is due

to be GRANTED in PART and DENIED in PART, and Brand’s Motion to

Remand (doc. 4) is due to be DENIED.

    I.     BACKGROUND 1

         Brand is a former employee of Walker Rehabilitation, which is owned

and operated by Church. As an employee, Brand directed that payroll

deductions from her paycheck be used to pay for Alliance Medical

Supplement Insurance (“Alliance Insurance”) premiums. On June 26, 2018,

Brand started chemotherapy. To pay for these treatments, Brand presented

her medical provider with her Alliance Insurance. However, Brand’s medical

provider notified her that the Alliance Insurance was invalid. According to

Brand, her employers were not using her withheld wages to pay her

insurance premiums, but instead, were converting funds deducted from her

paychecks for their own purposes. Brand also alleges that Defendant

Alliance Medical Supplement Insurance Company (“Alliance”) acted in bad

faith when it refused to pay her claim for the chemotherapy treatments and

that it failed to warn her that the insurance premiums were not being paid.




1       The following facts are taken from Brand’s complaint, and the Court makes no
ruling on their veracity.
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 II.     STANDARD OF REVIEW

       Before reaching the motion to dismiss under Rule 12(b)(6), the Court

must first decide whether it has subject matter jurisdiction over Brand’s state

law claims. Only if the Court finds jurisdiction will it address the motion to

dismiss. To survive a 12(b)(6) motion to dismiss, a plaintiff must generally

satisfy the pleading requirements in Fed. R. Civ. P. 8. Rule 8 requires a

pleading to contain “a short and plain statement of the claim showing that

the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “Rule 8 marks a

notable and generous departure from the hyper-technical, code-pleading

regime of a prior era, but it does not unlock the doors of discovery for a

plaintiff armed with nothing more than conclusions.” Ashcroft v. Iqbal, 556

U.S. 662, 678–79 (2009). Instead, “[t]o survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to state a

claim for relief that is plausible on its face.” Id. at 678 (internal quotations

omitted). Iqbal establishes a two-step process for evaluating a complaint.

First, the Court must “begin by identifying pleadings that, because they are

no more than conclusions, are not entitled to the assumption of truth.” Id. at

679. Second, “[w]hen there are well-pleaded factual allegations, a court

should assume their veracity and then determine whether they plausibly give

rise to an entitlement to relief.” Id. Factual allegations in a complaint need

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not be detailed, but they “must be enough to raise a right to relief above the

speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

       A party need not specifically plead each element in his or her cause of

action, but the pleading must contain “enough information regarding the

material elements of a cause of action to support recovery under some viable

legal theory.” Am. Fed’n Labor & Cong. of Indus. Orgs. v. City of Miami, Fla.,

637 F.3d 1178, 1186 (11th Cir. 2011) (internal quotations omitted).

Ultimately, the Court must be able to draw a reasonable inference from the

facts that the other party is liable. Reese v. Ellis, Painter, Ratterree & Adams,

LLP, 678 F.3d 1211, 1215 (11th Cir. 2012).

III.        DISCUSSION

       A.     Federal Jurisdiction and Complete Preemption

       In determining whether remand is appropriate, the Court will ask

whether removal was proper in the first place. Under 28 U.S.C. § 1441(a),

defendants may remove a civil action if the action could have originally been

filed in federal court. See Caterpillar Inc. v. Williams, 482 U.S. 386, 392

(1987). If the action could not have originally been brought in federal court,

it must be remanded to the state court in which it was filed. 28 U.S.C.

§ 1447(c). “Any doubts about the propriety of federal jurisdiction should be




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resolved in favor of remand to state court.” Adventure Outdoors, Inc. v.

Bloomberg, 552 F.3d 1290, 1294 (11th Cir. 2008).

      “Federal courts are courts of limited jurisdiction. They possess only that

power authorized by Constitution and statute.” Kokkonen v. Guardian Life

Ins. Co. of Am., 511 U.S. 375, 377 (1994). One such authorization of power

is original jurisdiction over cases that “aris[e] under” federal law. 28 U.S.C.

§ 1331. Under the well-pleaded complaint rule, a case arises under federal

law only if the presence of a federal question is clear from the face of the

plaintiff’s complaint. Caterpillar Inc., 482 U.S. at 392. In other words, the

mere existence of an anticipated federal defense is insufficient to support

federal question jurisdiction. See id. at 393.

      Because Brand asserts only state law claims, the face of her complaint

does not present a federal question. Complete preemption, however, is a

“narrow exception to the well-pleaded complaint rule and exists where the

preemptive force of a federal statute is so extraordinary that it converts an

ordinary state law claim into a statutory federal claim.” Conn. State Dental

Ass’n v. Anthem Health Plans, Inc., 591 F.3d 1337, 1343 (11th Cir. 2009)

(citing Caterpillar Inc., 482 U.S. at 393). ERISA’s civil enforcement provision,




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29 U.S.C. § 1132(a)(1)(B), 2 is one of the few federal statutes that completely

preempts state law claims making those claims removable to federal court.

See Aetna Health Inc. v. Davila, 542 U.S. 200, 209 (2004); Metro. Life Ins.

Co. v. Taylor, 481 U.S. 58, 64–67 (1987). Defendants argue that this

provision is what allowed them to remove Brand’s claims to this Court.

       The Eleventh Circuit has adopted a two-part test to determine whether

ERISA completely preempts a state law claim: “(1) whether the plaintiff could

have brought [her] claim under § 502(a); and (2) whether no other legal duty

supports the plaintiff’s claim.” Conn. State, 591 F.3d at 1345 (citing Davila,

542 U.S. at 210). The Court will now address each prong of what is known

as the Davila test.

          1.     First Davila Inquiry

       The first Davila prong is satisfied when two requirements are met: “(1)

the plaintiff’s claim must fall within the scope of ERISA; and (2) the plaintiff

must have standing to sue under ERISA.” Id. at 1350 (citing Davila, 542 U.S.

at 211–12). To determine whether a particular insurance program falls within

the scope of ERISA, courts usually begin by looking to whether ERISA’s




2       This provision provides: “A civil action may be brought (1) by a participant or
beneficiary . . . (B) to recover benefits due to him under the terms of his plan, to enforce
his rights under the terms of the plan, or to clarify his rights to future benefits under the
terms of the plan.” See 29 U.S.C. § 1132(a)(1)(B).
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regulatory safe harbor applies to the plan. See Anderson v. UNUM Provident

Corp., 369 F.3d 1257, 1263 n.2 (11th Cir. 2004). This safe harbor “excludes

from ERISA’s jurisdictional ambit certain group or group-type insurance

programs offered by an insurer to employees or members of an employee

organization.” See id. For a program to fall within the regulatory safe harbor,

the following four elements must be satisfied:

      (1) No contributions are made by an employer or employee
      organization;

      (2) Participation [in] the program is completely voluntary for
      employees . . . ;

      (3) The sole function of the employer . . . with respect to the
      program are without endorsing the program, to permit the insurer
      to publicize the program to employees or members, to collect
      premiums through payroll deductions or dues checkoffs and to
      remit them to the insurer; and

      (4) The employer . . . receives no consideration in the form of
      cash or otherwise in connection with the program . . . .

Butero v. Royal Maccabees Life Ins. Co., 174 F.3d 1207, 1213 (11th Cir.

1999) (quoting 29 C.F.R. § 2510.3–1(j)). Brand argues that the Alliance

Insurance policy falls within this regulatory safe harbor because the

insurance was completely voluntary for Walker Rehabilitation employees

and Walker Rehabilitation did not endorse the insurance program. Brand

also states that Walker Rehabilitation’s only involvement with her Alliance



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Insurance was to collect the insurance premiums through Brand’s payroll

deductions.

      This argument is belied by the allegations contained within Brand’s

complaint. According to Brand’s complaint:

     28. Plaintiff was employed by Defendant Walker Rehabilitation
     Center. Upon her securing employment, she was notified the
     Defendant provided Alliance Supplemental Insurance and a sum
     of monies would be withdrawn from each paycheck. This was a
     benefit which Defendant(s) provided for their employees. Plaintiff
     was told that this insurance was an employer sponsored health
     insurance which paid for her copays, deductibles, medical
     procedures and/or services which would be beneficial to her.

     33. Upon her acceptance, of the position with Defendant Walker
     Rehabilitation Center, she was informed the Defendant would
     pay a portion of her insurance premium to Defendant Alliance
     Supplemental Insurance Company.

     42. Defendant(s) . . . offered Plaintiff an employment package
     which included insurance that was affordable.

     44. The [P]laintiff was caused to rely upon the offered
     employment package when she obtained employment with the
     defendant.

(Doc. 1-1 ¶¶ 28, 33, 42, 44.) These allegations suggest that not only did

Brand’s employer make contributions to the Alliance Insurance but that it

also endorsed the program. An employer endorses a program if it “urges or

encourages member participation in the program or engages in activities that

would lead a member to reasonably conclude that the program is part of a

benefit arrangement established or maintained by the [employer].” Moorman
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v. UnumProvident Corp., 464 F.3d 1260, 1267 (11th Cir. 2006) (quoting

ERISA Op. Letter No. 94-26A, 1994 WL 369282 (July 11, 1994)) (emphasis

in original). Here, according to Brand’s complaint, her employer’s

representations about the Alliance Insurance led her to believe that it was

part of an employer sponsored health insurance plan. Brand asserts that

Walker Rehabilitation offered the insurance as part of an employment benefit

package and promised to pay a portion of her insurance premiums. Thus, it

appears that Walker Rehabilitation did more than simply collect the Alliance

Insurance premiums through payroll deductions, and instead, took actions

that constituted endorsement of the program.

      Brand has presented the Court with no evidence to the contrary.

Although Brand has submitted affidavits from herself and another former

Walker Rehabilitation employee stating that they were told the cost of the

supplemental insurance policy would be deducted from their pay, neither

affidavit directly refutes the complaint’s assertion that Walker Rehabilitation

would also pay a portion of the Alliance Insurance premiums. (See Doc. 8 at

12–15.) The affidavits also do not contradict the complaint’s allegations that

Walker Rehabilitation took actions that led Brand to believe the Alliance

Insurance was being offered as part of an employer sponsored health

insurance program. Taking the allegations in the complaint as true, the Court

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finds that Walker Rehabilitation engaged in activity that would lead a

reasonable employee to believe that the Alliance Insurance was part of a

benefit plan established by her employer. Because an insurance program

falls outside of ERISA’s regulatory safe harbor if just one of the safe harbor’s

elements is not met, the Court finds that the regulatory safe harbor does not

apply to the Alliance Insurance.

      Moreover,    the Court       is   persuaded by Church and Walker

Rehabilitation’s argument that this supplemental policy cannot be unbundled

from the Blue Cross Blue Shield (“Blue Cross”) policy offered by Brand’s

employer. The Eleventh Circuit has held that the regulatory safe harbor

cannot be used to sever supplemental insurance offered to employees as

part of the employer’s group insurance plan. See Glass v. United of Omaha

Life Ins., Co., 33 F.3d 1341, 1345 (11th Cir. 1994) (concluding that the safe

harbor did not apply to elective life insurance where employer provided basic

life insurance as part of an employee benefit plan). This is true even if

standing alone the supplemental insurance would fall within the regulatory

safe harbor. See id. (holding that elective life insurance was subject to ERISA

even though employer made no contributions to supplemental policy and the

policy could be converted into an individual policy).




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      According to Brand’s complaint, Walker Rehabilitation offered the

Alliance Insurance as part of an employment package. (See Doc. 1-1 ¶¶ 42,

44.) Post-removal evidence submitted by Brand has clarified that the Alliance

Insurance policy was one of three gap policies obtained by Brand through

her employer. (See Doc. 8 at 6–8.) In her filings, Brand refers to the Alliance

Insurance as “a complement to the [Blue Cross] policy which was offered to

[Walker Rehabilitation] employees as their basic insurance policy.” (See

Doc. 8 at 4.) Based on the limited factual record before the Court, it appears

that the Alliance Insurance policy was “part and parcel” of the basic Blue

Cross policy offered by Walker Rehabilitation. See Glass, 33 F.3d at 1345.

Thus, it may not be unbundled from that policy. Brand does not appear to

dispute that the Blue Cross policy is governed by ERISA, and there is no

evidence before this Court that would suggest otherwise. Accordingly, even

to the extent that standing alone the Alliance Insurance policy falls within the

regulatory safe harbor, the Court concludes that the safe harbor does not

apply because the policy is merely one part of a larger health insurance plan

that falls outside the scope of the safe harbor.

      “Even if the safe harbor is barred, ‘that does not necessarily mean that

the insurance policy is part of an ERISA plan.’” Moorman, 464 F.3d at 1269




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(quoting Butero, 174 F.3d at 1214). An employee welfare benefit plan

requires:

      (1) a ‘plan, fund, or program’ (2) established or maintained (3) by
      an employer or by an employee organization, or by both, (4) for
      the purpose of providing medical, surgical, hospital care,
      sickness, accident, disability, death, unemployment or vacation
      benefits, apprenticeship or other training programs, day care
      centers, scholarship funds, prepaid legal services or severance
      benefits (5) to participants or their beneficiaries.

Donovan v. Dillingham, 688 F.2d 1367, 1371 (11th Cir. 1982) (en banc); see

also 29 U.S.C. § 1002(1). Health insurance benefits, like those Brand alleges

were provided by Alliance Insurance, are the type of benefits that fall within

ERISA’s definition of an employee welfare benefit plan. As Brand directed

that payroll deductions from her paycheck be used to help pay for what she

referred to as “an employer sponsored health insurance,” she was a

participant in the plan at issue. See 29 U.S.C. § 1002(7).

      However, Brand appears to argue that because her employers failed

to pay the Alliance Insurance premiums and discontinued the policy that the

policy should not be considered a plan “established or maintained” by her

employers. The fact that Brand’s employers allegedly allowed her Alliance

Insurance policy to lapse has no bearing on whether Brand’s claims are

completely preempted by ERISA. Even when an insurance policy lapses due

to an employer’s failure to forward its employees’ payroll deductions, this

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does not mean that the policy at issue is not part of an ERISA plan. See

Jones v. LMR Int’l, Inc., 457 F.3d 1174, 1179 (11th Cir. 2006). Instead,

“assuming the other requirements for complete preemption are met, state

law claims relating to a lapsed ERISA plan are completely preempted by

ERISA.” Id. Based on the allegations in Brand’s complaint, the Court

concludes that the Alliance Insurance policy was part of a plan established

by her employer.

      Brand also argues that her employers failed to follow several of the

technical requirements of ERISA, which necessarily means that the Alliance

Insurance policy was not part of an ERISA plan. Most of these purported

technical violations are not reflected in either Brand’s complaint or any of the

post-removal    evidence,    but    instead,       are   merely   referred   to   in

unsubstantiated assertions contained within Brand’s briefs. Thus, there is no

reason for the Court to consider whether a violation of these provisions would

cause the Alliance Insurance policy to fall outside ERISA. The affidavits

submitted by Brand do state that Walker Rehabilitation employees were

never furnished summary plan descriptions of the Alliance Insurance plan as

required by 29 U.S.C. § 1022(a). (See Doc. 8 at 12, 14.) However, there is

no requirement of a summary plan description in either ERISA’s coverage

section, 29 U.S.C. § 1003(a), or its definition section, 29 U.S.C. § 1002(1).

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Therefore, a plan may be established even if an employer fails to provide its

employees with a summary plan description. See Donovan, 688 F.2d at 1372

(concluding that having a formal, written plan is not a prerequisite to

coverage under ERISA).

      In sum, the Court finds that the Alliance Insurance plan, which was a

plan established by Brand’s employer, falls within the scope of ERISA.

Because Brand was a plan participant when her Alliance Insurance allegedly

lapsed, she has standing to sue under ERISA § 502(a). See 29 U.S.C.

§ 1132(a)(1). And therefore, the first Davila prong is satisfied.

         2.    Second Davila Inquiry

      No independent legal duty supports Brand’s claims. That is because

the Defendants’ “potential liability . . . derives entirely from the particular

rights and obligations established by the benefit plan[ ].” See Davila, 542

U.S. at 213. Brand’s breach of contract, breach of fiduciary duty, negligent

misrepresentation, false representation, fraud in the inducement, deceit, and

conversion claims all assert that Brand’s employers failed to make payments

on her Alliance Insurance premiums with her payroll deductions. Brand

alleges that although she was promised that these payments would be made

she was never notified that her employers had failed to do so. Accordingly,

Brand seeks reimbursement for those contributions that she thought were

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going toward her insurance premiums. The breach of contract claim does not

arise independently because the plan itself is what imposed the contractual

duties that were allegedly breached by Brand’s employers. Likewise, Brand’s

claims for breach of fiduciary duty, negligent misrepresentation, false

representation, fraud in the inducement, deceit, and conversion all require

the Court to assess the respective parties’ rights and obligations under the

plan.

        Moreover, the bad faith, failure to warn, and intentional infliction of

emotional distress claims brought by Brand require the Court to inquire into

the terms of the ERISA plan. To determine the merits of these claims, the

Court would have to interpret the plan’s terms so that it could decide whether

Brand’s Alliance Insurance covered her chemotherapy treatments. As such,

these claims do not arise from any independent legal duty. Because both

parts of the Davila test are satisfied, Brand’s claims are completely

preempted by ERISA and thus arise under federal law. Accordingly, this

Court has subject matter jurisdiction over Brand’s claims, and Brand’s motion

to remand is due to be denied. 3


3       Brand also asserts that this case should be remanded because Defendant Alliance
did not join in the removal. 28 U.S.C. § 1446 provides that “all defendants who have been
properly joined and served must join in or consent to the removal of the action.” 28 U.S.C.
§ 1446(b)(2)(A). Here, Defendant Alliance was not properly served at the time of removal.
Under Alabama law, a plaintiff may serve both individuals and corporate entities via
certified mail. See Ala. R. Civ. P. 4(i)(2). In the case of a corporate entity, the certified
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      B.     Conflict Preemption

      Unlike with Brand’s motion to remand, for the purposes of the motion

to dismiss, the relevant question is whether Brand’s state-law claims are

subject to defensive (conflict) preemption. See Butero, 174 F.3d at 1212

(“Reviewing the district court’s dismissal of the complaint . . . raises only the

question of whether the state-law claims were subject to defensive

preemption.”). ERISA § 514(a) provides that ERISA will preempt any state

law that “relates to” a covered employee benefit plan. See 29 U.S.C.

§ 1144(a). “A law ‘relates to’ an employee benefit plan, in the normal sense

of the phrase, if it has a connection with or reference to such a plan.” See

Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 96–97 (1983). While conflict

preemption is a separate inquiry from complete preemption, complete

preemption is narrower than defensive preemption. See Conn. State, 591

F.3d at 1344. In other words, as Brand’s claims are completely preempted

under the narrower test, it is likely that they will also “relate to” an employee

benefit plan under 29 U.S.C. § 1144(a) and be defensively preempted by

ERISA as well.


mail must be addressed to an officer, partner, or other agent authorized by the entity to
receive service of process. See Ala. R. Civ. P. 4(i)(2)(C), 4(c)(6). Based on the certified
mail receipt, the certified mail sent to Defendant Alliance was addressed to “Alliance
Medical Supplement.” (See Doc. 1-1 at 21.) This is not a proper addressee. Therefore,
Defendant Alliance had not been properly served at the time of removal, and its consent
to removal was not required.
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      Here, Brand alleges that Walker Rehabilitation and Church wrongfully

withheld and mismanaged her payroll deductions that were to be used to pay

the premiums for or to make contributions toward the ERISA-covered benefit

plan. It would be impossible to consider Brand’s claims against her

employers without considering the plan and the duties it imposed on these

Defendants. Therefore, Brand’s claims against Walker Rehabilitation and

Church are defensively preempted. The Court will allow Brand to

recharacterize her breach-of-contract claim as a claim for benefits under

ERISA § 502(a) and dismiss all other claims against Walker Rehabilitation

and Church as preempted under ERISA. Accordingly, the Court will also

strike Brand’s claims for extra-contractual and punitive damages, see

Godfrey v. BellSouth Telecomm., Inc., 89 F.3d 755, 761 (11th Cir. 1996), as

well as her demand for trial by jury, see Stewart v. KHD Deutz of Am. Corp.,

75 F.3d 1522, 1527 (11th Cir. 1996).

IV.     CONCLUSION

      For the reasons stated above, Church and Walker Rehabilitation’s

Motion to Dismiss (doc. 3) is due to be GRANTED in PART and DENIED in

PART. Brand’s Motion to Remand (doc. 4) is due to be DENIED. Brand will

have ten (10) days to amend her complaint to restate her claims against




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Church and Walker Rehabilitation as ERISA claims. An order consistent with

this opinion will be entered.

      DONE and ORDERED on April 2, 2019.



                                       _____________________________
                                               L. Scott Coogler
                                          United States District Judge
                                                                         194800




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